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                                                                      John W. Lucas (State Bar No. 271038)
                                                                    2 Jeffrey P. Nolan (State Bar No. 158923)
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                                                                    7
                                                                      Counsel to Bradley D. Sharp, Chapter 11 Trustee
                                                                    8
                                                                                               UNITED STATES BANKRUPTCY COURT
                                                                    9
                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                   10                                   LOS ANGELES DIVISION
                                                                   11    In re                                          Case No.: 2:23-bk-10990-NB
                                                                                                                        Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12    LESLIE KLEIN,
                                                                                                                        CERTIFICATE OF SERVICE
                                                                   13                        Debtor.
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




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                                                                    1                                   PROOF OF SERVICE OF DOCUMENT
                                                                    2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                        address is:
                                                                    3                                One Sansome Street, Suite 3430, San Francisco, CA 94105.

                                                                    4 A true and correct copy of the foregoing document entitled (specify):

                                                                    5        •    MOTION OF CHAPTER 11 TRUSTEE, FOR ORDER ENFORCING THE AUTOMATIC STAY AND
                                                                                  SANCTIONS AGAINST (A) THE DEBTOR, (B) DANIEL CRAWFORD, (C) CRAWFORD LAW
                                                                    6             GROUP, (D) LESLIE KLEIN & ASSOCIATES, INC., AND (E) EKLK FOUNDATION, AND
                                                                                  RELATED RELIEF; MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION OF
                                                                    7             JOHN W. LUCAS IN SUPPORT THEREOF [Docket No. 969]

                                                                             •    APPLICATION FOR ORDER SETTING HEARING ON SHORTENED NOTICE [Docket No. 970]
                                                                    8
                                                                        served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
                                                                    9 (b) in the manner stated below:

                                                                   10 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
                                                                        controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                                                   11 hyperlink to the document. On (date) March 21, 2025, I checked the CM/ECF docket for this bankruptcy
                                                                        case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12 List to receive NEF transmission at the email addresses stated below:

                                                                   13
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                                                                                     Service information continued on attached page
                                                                   14
                                                                        2. SERVED BY UNITED STATES MAIL: On (date) March 21, 2025, I served the following persons and/or
                                                                   15 entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
                                                                        correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
                                                                   16 addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
                                                                        completed no later than 24 hours after the document is filed.
                                                                   17

                                                                   18                                                                Service information continued on attached page

                                                                   19
                                                                        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                   20 (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                                        March 21, 2025, I served the following persons and/or entities by personal delivery, overnight mail service,
                                                                   21 or (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                        follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                   22 judge will be completed no later than 24 hours after the document is filed.

                                                                   23       Via Email:                                             Via Email:
                                                                            Eric J Olson: eric@ejolsonlaw.com                      Daniel A. Crawford, Esq.
                                                                   24                                                              Crawford Law Group
                                                                            Leslie Klein: les.kleinlaw@gmail.com;                  15303 Ventura Blvd., Ninth Floor
                                                                   25       leskleinlaw@gmail.com; kleinlaw@earthlink.net          Sherman Oaks, California 91403
                                                                                                                                   Email: dac@crawfordlawgroup.com
                                                                   26
                                                                                                                                     Service information continued on attached page
                                                                   27
                                                                        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                   28


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                                                                           March 21, 2025                   Oliver Carpio           /s/ Oliver Carpio
                                                                    2      Date                             Printed Name            Signature

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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA
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                                                                    1 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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                                                                    1 2. SERVED BY UNITED STATES MAIL:

                                                                    2        Peter C. Anderson, U.S. Trustee         Nathan Talei                       Leslie Klein & Associates, Inc.
                                                                             Michael Jones, Assistant U.S. Trustee   Oldman, Sallus & Gold, L.L.P.      c/o Parker Milliken
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                                                                    5        Leslie Klein                            Leslie Klein & Associates, Inc.   Daniel A. Crawford, Esq.
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                                        LOS ANGELES, CALIFORNIA
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